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                                         UNITED STATES DISTRICT COURT
                                             DISTRICT OF ARIZONA


                                               Civil Cover Sheet
This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
use only in the District of Arizona.

 The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                            Complaint or Notice of Removal.

                                                                                           A Cleaner View, LLC, an Arizona
 Plaintiff(s): Christopher Schreiner                                    Defendant(s):
                                                                                           limited liability company
County of Residence: Maricopa                                          County of Residence: Maricopa
County Where Claim For Relief Arose: Maricopa


Plaintiff's Atty(s):                                                   Defendant's Atty(s):
Trey Dayes (Christopher Schreiner )
Phillips Dayes Law Firm P.C.
3101 N Central Ave, 1500
Phoenix, Arizona 85012
6022881610


Sean Christopher Davis (Christopher Schreiner )
Phillips Dayes Law Firm PC
3101 N Central Ave, 1500
Phoenix, Arizona 85012
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Preston Flood (Christopher Schreiner )
Phillips Dayes Law Firm PC
3101 N Central Ave, 1500
Phoenix, Arizona 85012
6022881610



II. Basis of Jurisdiction:                3. Federal Question (U.S. not a party)

III. Citizenship of Principal
Parties (Diversity Cases Only)
                          Plaintiff:- N/A
                        Defendant:- N/A

IV. Origin :                              1. Original Proceeding
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V. Nature of Suit:                     710 Fair Labor Standards Act

VI.Cause of Action:                    29 USC 201 et seq, failure to pay overtime; ARS 23-355, failure to pay
                                       wages
VII. Requested in Complaint
                    Class Action: No
                 Dollar Demand:
                   Jury Demand: No

VIII. This case is not related to another case.

Signature: Sean Davis

       Date: 6/15/2017

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

Revised: 01/2014
